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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

UNITED STATES OF AMERICA

      vs.                                  Criminal Action 2:25-cr-067
                                           JUDGE MICHAEL H. WATSON
ALBERTO CAICEROS-CRUZ


                          REPORT AND RECOMMENDATION

      The United States and defendant Alberto Caiceros-Cruz entered
into a Fast-Track Plea Agreement, Plea Agreement, ECF No. 17, executed
under the provisions of Fed. R. Crim. P. 11(c)(1)(C), whereby
defendant agreed to plead guilty to an Information, ECF No. 16,
charging him with the illegal reentry of a removed alien in violation
of 8 U.S.C. § 1326(a). 1 On May 28, 2025, defendant personally appeared
with his counsel for an arraignment and entry of guilty plea
proceeding. 2
      Defendant waived his right to an indictment in open court and
after being advised of the nature of the charge and of his rights.
See Fed. R. Crim P. 7(b).
      Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to enter a
guilty plea before a Magistrate Judge.       See United States v. Cukaj, 25
Fed. Appx. 290, 291(6th Cir. 2001)(Magistrate Judge may accept a guilty
plea with the express consent of the defendant and where no objection
to the report and recommendation is filed).
      During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions.

      1 In addition to specifying certain sentencing terms, the Plea Agreement
includes an appellate waiver provision that preserves only certain claims for
appeal, collateral challenge, or motion for reduction of sentence. In the
Plea Agreement, defendant acknowledged the likely immigration consequences of
his guilty plea.
      2 A Spanish interpreter was available throughout the hearing but
defendant, who appears to be fluent in English, did not rely on the
interpreter.

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Based on that observation, the undersigned is satisfied that, at the
time he entered his guilty plea, defendant was in full possession of
his faculties, was not suffering from any apparent physical or mental
illness, and was not under the influence of narcotics, other drugs, or
alcohol.
     Prior to accepting defendant’s plea, the undersigned addressed
defendant personally and in open court and determined his competence
to plead.    Based on the observations of the undersigned, defendant
understands the nature and meaning of the charge in the Information
and the consequences of his plea of guilty to that charge.         Defendant
was also addressed personally and in open court and advised of each of
the rights referred to in Rule 11 of the Federal Rules of Criminal
Procedure.
     Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.       Defendant acknowledged
that the Plea Agreement signed by him, his attorney, and the attorney
for the United States and filed on April 24, 2025, represents the only
promises made by anyone regarding the charge in the Information.
Defendant was advised that the District Judge may accept or reject the
Plea Agreement. Defendant was further advised that, if the District
Judge refuses to accept the Plea Agreement, defendant will have the
opportunity to withdraw his guilty plea but that, if he does not
withdraw his guilty plea under those circumstances, the District Judge
may impose a sentence that is more severe than the sentence
contemplated in the Plea Agreement, up to the statutory maximum.
     Defendant confirmed the accuracy of the statement of facts
supporting the charge, which is attached to the Plea Agreement.          He
confirmed that he is pleading guilty to Count 1 of the Information
because he is in fact guilty of that crime.       The Court concludes that
there is a factual basis for the plea.
     The Court concludes that defendant’s plea of guilty to Count 1 of
the Information is knowingly and voluntarily made with understanding


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of the nature and meaning of the charge and of the consequences of the
plea.
        It is therefore RECOMMENDED that defendant’s guilty plea to Count
1 of the Information be accepted.


        Decision on acceptance or rejection of the Plea Agreement was
deferred for consideration by the District Judge after review of the
Presentence Investigation Report, ECF No. 22.


      If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto. 28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b). Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof. F.R. Civ. P. 72(b).
      The parties are specifically advised that failure to object to
the Report and Recommendation will result in the forfeiture of the
right to de novo review by the District Judge and of the right to
appeal the decision of the District Court adopting the Report and
Recommendation. See United States v. Wandahsega, 924 F.3d 868, 878
(6th Cir. 2019); Thomas v. Arn, 474 U.S. 140 (1985).




 May 28, 2025                                  s/ Norah McCann King
 Date                                           Norah McCann King
                                          United States Magistrate Judge




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